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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                  : CASE NO: 11-81586-JRS
                                                        : CHAPTER: 7
                                       :
RACHEL SHANNON CARTWRIGHT              :
      Debtor                           :
------------------------------------- -- ------------------------------------
BANK OF AMERICA, N.A., SUCCESSOR BY    :
MERGER TO BAC HOME LOANS SERVICING, :
LP FKA COUNTRYWIDE HOME LOANS          :
SERVICING, LP,                         :
      Movant,                          :
                                       : CONTESTED MATTER
vs.                                    :
                                       :
RACHEL SHANNON CARTWRIGHT              :
EDWIN K. PALMER, Trustee               :
      Respondents.                     :

                                NOTICE OF ASSIGNMENT OF HEARING


        NOTICE IS HEREBY GIVEN that BANK OF AMERICA, N.A., SUCCESSOR BY MERGER TO
BAC HOME LOANS SERVICING, LP FKA COUNTRYWIDE HOME LOANS SERVICING, LP filed a
Motion for Relief from Automatic Stay with the Court seeking an order modifying stay, and hearing will be held
on the Motion for Relief from Automatic Stay in Courtroom 1404, United States Courthouse, 75 Spring
Street, S.W., Atlanta, Georgia at 1:30 PM on February 28, 2012.


        Your rights may be affected by the Court's ruling on these pleadings. You should read these pleadings
carefully and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.) If you do not want the Court to grant the relief sought in these
pleadings or if you want the Court to consider your views, then you and/or your attorney must attend the
hearing. You may also file a written response to the pleading with the Clerk at the address stated below, but you
are not required to do so. If you file a written response, you must attach a certificate stating when, how and on
whom (including addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is: Clerk, U.S. Bankruptcy
Court, 75 Spring Street S.W., Suite 1340, Atlanta, GA 30303. You must also mail a copy of your response to
the undersigned at the address stated below.
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        If a hearing on the Motion for Relief from Automatic Stay cannot be held within thirty (30) days,
Movant waives the requirement for holding a preliminary hearing within thirty days of filing the motion and
agrees to a hearing on the earliest possible date. Movant consents to the automatic stay remaining in effect until
the Court orders otherwise.

Dated: 1/30/12                   /s/ Molly Sutter
Molly Sutter
Attorney for Movant
GA State Bar No. 120309
Rubin Lublin Suarez Serrano, LLC
3740 Davinci Court, Suite 400
Norcross, GA 30092
(877) 813-0992
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
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IN RE:                                               : CASE NO: 11-81586-JRS
                                                     : CHAPTER: 7
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RACHEL SHANNON CARTWRIGHT              :
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BANK OF AMERICA, N.A., SUCCESSOR BY    :
MERGER TO BAC HOME LOANS SERVICING, :
LP FKA COUNTRYWIDE HOME LOANS          :
SERVICING, LP,                         :
      Movant,                          :
                                       : CONTESTED MATTER
vs.                                    :
                                       :
RACHEL SHANNON CARTWRIGHT              :
EDWIN K. PALMER, Trustee               :
      Respondents.                     :

            MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)


      BANK OF AMERICA, N.A., SUCCESSOR BY MERGER TO BAC HOME LOANS

SERVICING, LP FKA COUNTRYWIDE HOME LOANS SERVICING, LP ("Movant") hereby

moves this Court, pursuant to 11 U.S.C. § 362, for relief from the automatic stay with respect to certain

real property of the Debtor(s) having an address of 630 Beckenham Walk Drive, Dacula, GA 30019

(the "Property"), for all purposes allowed by law, the Note (defined below), the Security Deed (defined

below), and applicable law, including but not limited to the right to foreclose. In further support of this

Motion, Movant respectfully states:

         1. The Debtor(s) has/have executed and delivered or is/are otherwise obligated with respect to

that certain promissory note in the original principal amount of $190,470.00 (the "Note"). A copy of

the Note is attached hereto as Exhibit "A". Movant is an entity entitled to enforce the Note.

         2. Pursuant to that certain Security Deed (the "Security Deed"), all obligations, (collectively,

the "Obligations") of the Debtor(s) under and with respect to the Note and the Security Deed are
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secured by the Property. A copy of the Security Deed is attached hereto as Exhibit "B".

       3. The legal description of the Property and recording information is set forth in the Security

Deed, a copy of which is attached hereto, and such description and information is incorporated and

made a part hereof by reference.

       4.   As of January 24, 2012, the outstanding amount of the Obligations less any partial

payments or suspense balance is $249,256.00. This does not include the attorney`s fees and expenses

incurred in connection with preparing and pursuing this Motion, which fees and expenses are set forth

in more details below.

       5. In addition to the other amounts due to Movant reflected in this Motion, as of the date

hereof, in connection with seeking the relief requested in this Motion, Movant has also incurred

$726.00 in legal fees and costs. Movant reserves all rights to seek an award or allowance of such fees

and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy

Code and otherwise applicable law.

       6. As of January 24, 2012 the Debtor(s) has/have failed to make (61) payments due pursuant

to the terms of the Note.

       7. The estimated market value of the Property is $196,000.00. The basis for such valuation is

Debtor`s Schedule A.

       8. Upon information and belief, the aggregate amount of encumbrances on the Property listed

in the Schedules or otherwise known, including but not limited to the encumbrances granted to

Movant, is $252,256.00.

       9. Cause exists for relief from the automatic stay for the following reasons:

               a.     Movant`s interest in the Property is not adequately protected.

               b.     Movant`s interest in the collateral is not protected by an adequate equity

                      cushion.
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               c.     The fair market value of the Property is declining and payments are not being

                      made to Movant sufficient to protect Movant`s interest against that decline.


               d.     Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtor(s) has/have little to no equity in

                      the Property; and pursuant to § 362(d)(2)(B), the Property is not necessary for an

                      effective reorganization.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay

and granting the following:

       1.      Relief from the stay for all purposes allowed by law, the Note, the Security Deed, and

applicable law, including but not limited allowing Movant (and any successors or assigns) to proceed

under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession

of the Property.

       2.      That the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code.

       3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       4.      For such other relief as the Court deems proper.


RUBIN LUBLIN SUAREZ SERRANO, LLC

/s/ Molly Sutter
Molly Sutter
Attorney for Movant
GA State Bar No. 120309
Rubin Lublin Suarez Serrano, LLC
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                                    CERTIFICATE OF SERVICE


       I, Molly Sutter of Rubin Lublin Suarez Serrano, LLC certify that on the 30th day of January,
2012, I caused a copy of the foregoing to be to be filed in this proceeding by electronic means and to
be served by depositing a copy of the same in the United States Mail in a properly addressed envelope
with adequate postage thereon to the said parties as follows:

Rachel Shannon Cartwright
630 Beckenham Walk Drive
Dacula, GA 30019

Lorena Lee Saedi, Esq.
Saedi Law Group, LLC
3006 Clairmont Road
Suite 103
Atlanta, GA 30329

Edwin K. Palmer, Trustee
P.O. Box 1284
Decatur, GA 30031

United States Trustee - Atlanta
362 Richard Russell Building
Office of the US Trustee
75 Spring Street, SW
Atlanta, GA 30303


I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on 1/30/12 By:/s/Molly Sutter
Molly Sutter
GA State Bar No.120309
Rubin Lublin Suarez Serrano, LLC
3740 Davinci Court, Suite 400
Norcross, GA 30092
(877) 813-0992
msutter@rubinlublin.com
